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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 JAZZ PHARMACEUTICALS, INC.,                            C.A. No. 21-691-GBW

                Plaintiff,                              PUBLIC VERSION
                        v.

 AVADEL CNS PHARMACEUTICALS,
 LLC,

                Defendant.


 JAZZ PHARMACEUTICALS, INC., et al.,                    C.A. No. 21-1138-GBW

                Plaintiffs,                             PUBLIC VERSION

                        v.

 AVADEL CNS PHARMACEUTICALS,
 LLC,

                Defendant.

 JAZZ PHARMACEUTICALS, INC., et al.,                    C.A. No. 21-1594-GBW

                Plaintiffs,                             PUBLIC VERSION

                        v.

 AVADEL CNS PHARMACEUTICALS,
 LLC,

                Defendant.


                        DECLARATION OF MARK RAINEY, Ph.D.

       I, Mark Rainey, declare as follows:

       1.      I provided opinions at trial in this action on behalf of Jazz regarding the

appropriate amount of past damages that the jury should award Jazz if Avadel’s Lumryz product

was found by the jury to have infringed any valid asserted patent claim.



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        2.      I understand that Avadel stipulated to infringement of claim 24 of Jazz’s ’782

patent, and that the Court granted Jazz’s motion or judgment as a matter of law that Avadel

infringed claim 24 of the ’782 patent. I also understand that the jury determined claim 24 to be

valid and awarded Jazz reasonable royalty damages using a 3.5% royalty rate for Avadel’s past

infringement.

        3.      I understand from counsel that, in addition to a permanent injunction, Jazz

currently seeks ongoing damages for Avadel’s continuing and future infringement of claim 24 of

the ’782 patent, but that the Court did not re-open discovery in this action.

        4.      The jury’s verdict does not change my opinions regarding the royalty rate

schedule that the parties would agree to for Avadel’s infringing use of claim 24 of the ’782

patent: 27% through 2025, 13% from 2026 through 2032, and 3.5% from 2033 through February

2036. It is my opinion that this royalty rate schedule applied to Avadel’s net sales as I testified

to at trial constitutes an economically reasonable ongoing royalty structure for Avadel’s

infringement from March 4, 2024 through the expiration of the ’782 patent for at least all the

reasons I explained at trial.

        I declare under penalty of perjury of the laws of the United States of America that the

foregoing is true and correct. Executed on April 12, 2024, at Belmont, Massachusetts.




                                                          Mark Rainey, Ph.D.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 12, 2024, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

April 12, 2024, upon the following in the manner indicated:

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